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(Official Form 1) (12/03) West Group, Rochester, NY

  FORM B1                                            United States Bankruptcy Court
                                                  SOUTHERN District of INDIANA
                                                                                                                                                                      Voluntary Petition
  Name of Debtor       (if individual, enter Last, First, Middle):                                        Name of Joint Debtor             (Spouse)(Last, First, Middle):


  Weintraut, Thomas Aldrich
  All Other Names used by the Debtor in the last 6 years                                                  All Other Names used by the Joint Debtor in the last 6 years
  (include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
  NONE




  Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No.                                    Last four digits of Soc. Sec. No./Compete EIN or other Tax I.D. No.
  (if more than one, state all):9057                                                                      (if more than one, state all):
  Street Address of Debtor             (No. & Street, City, State & Zip Code):                            Street Address of Joint Debtor                (No. & Street, City, State & Zip Code):
  596 Chestnut Trailer, #30
  Shelbyville IN 46176

  County of Residence or of the                                                                           County of Residence or of the
  Principal Place of Business:    Shelby                                                                  Principal Place of Business:
  Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor                (if different from street address):
  SAME



  Location of Principal Assets of Business Debtor
  (If different from street address above): NOT     APPLICABLE



                                Information Regarding the Debtor (Check the Applicable Boxes)
  Venue (Check any applicable box)
      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
      preceding the date of this petition or for a longer part of such 180 days than in any other District.
      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                   Type of Debtor (Check all boxes that apply)                                                       Chapter or Section of Bankruptcy Code Under Which
      Individual(s)                                                      Railroad                                          the Petition is Filed (Check one box)
      Corporation                                                        Stockbroker                          Chapter 7                         Chapter 11                      Chapter 13
      Partnership                                                        Commodity Broker                     Chapter 9                         Chapter 12
      Other                                                              Clearing Bank                        Sec. 304 - Case ancillary to foreign proceeding

                      Nature of Debts            (Check one box)
                                                                                                                                        Filing Fee (Check one box)
      Consumer/Non-Business                                    Business
                                                                                                              Full Filing Fee attached
        Chapter 11 Small Business                    (Check all boxes that apply)                             Filing Fee to be paid in installments (Applicable to individuals only)
      Debtor is a small business as defined in 11 U.S.C. § 101                                                Must attach signed application for the court's consideration
      Debtor is and elects to be considered a small business under                                            certifying that the debtor is unable to pay fee except in installments.
      11 U.S.C. § 1121(e) (Optional)                                                                          Rule 1006(b). See Official Form No. 3.

  Statistical/Administrative Information                       (Estimates only)                                                                          THIS SPACE IS FOR COURT USE ONLY

      Debtor estimates that funds will be available for distribution to unsecured creditors.

      Debtor estimates that, after any exempt property is excluded and administrative expenses
      paid, there will be no funds available for distribution to unsecured creditors.

                                                    1-15       16-49        50-99      100-199     200-999     1000-over
  Estimated Number of Creditors


  Estimated Assets
   $0 to         $50,001 to      $100,001 to        $500,001 to        $1,000,001 to   $10,000,001 to $50,000,001 to      More than
  $50,000         $100,000        $500,000           $1 million         $10 million      $50 million   $100 million      $100 million



  Estimated Debts
   $0 to         $50,001 to      $100,001 to        $500,001 to        $1,000,001 to   $10,000,001 to $50,000,001 to      More than
  $50,000         $100,000        $500,000           $1 million         $10 million      $50 million   $100 million      $100 million
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  Voluntary Petition                                                                Name of Debtor(s):                                                FORM B1, Page 2
  (This page must be completed and filed in every case)
                                                                           Thomas Aldrich Weintraut
                               Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
  Location Where Filed:                                                             Case Number:                                    Date Filed:
 NONE
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
  Name of Debtor:                                                                   Case Number:                                    Date Filed:
  NONE
  District:                                                                         Relationship:                                   Judge:


                                                                              Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                     Exhibit A
 I declare under penalty of perjury that the information provided in this                   (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                              (e.g., forms 10K and 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts                   Commission pursuant to Section 13 or 15(d) of the Securities
 and has chosen to file under chapter 7] I am aware that I may proceed                      Exchange Act of 1934 and is requesting relief under Chapter 11)
 under chapter 7, 11, 12, or 13 of title 11, United States Code, understand                 Exhibit A is attached and made a part of this petition
 the relief available under each such chapter, and choose to proceed
 under chapter 7.                                                                                                       Exhibit B
 I request relief in accordance with the chapter of title 11, United States                                (To be completed if debtor is an individual
 Code, specified in this petition.                                                                         whose debts are primarily consumer debts)
                                                                                   I, the attorney for the petitioner named in the foregoing petition, declare
  X /s/ Thomas Aldrich Weintraut                                                   that I have informed the petitioner that [he or she] may proceed under
      Signature of Debtor
                                                                                   chapter 7, 11, 12, or 13 of title 11, United States Code, and have
  X                                                                                explained the relief available under each such chapter.
      Signature of Joint Debtor
                                                                                    X /s/ J. D. Lux
                                                                                         Signature of Attorney for Debtor(s)                 Date
      Telephone Number (If not represented by attorney)

                                                                                                                       Exhibit C
      Date
                                                                                     Does the debtor own or have possession of any property that poses
                                       Signature of Attorney                         or is alleged to pose a threat of imminent and identifiable harm to
                                                                                     public health and safety?
                                                                                           Yes, and exhibit C is attached and made a part of this petition.
  X /s/ J. D. Lux                                                                          No
      Signature of Attorney for Debtor(s)

      J. D. Lux 17741-73                                                                             Signature of Non-Attorney Petition Preparer
      Printed Name of Attorney for Debtor(s)                                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      Lux & Lux, P.A.                                                              § 110, that I prepared this document for compensation, and that I have
      Firm Name                                                                    provided the debtor with a copy of this document.
      101 S. Harrison Street, Suite
      Address                                                                           Printed Name of Bankruptcy Petition Preparer

      P.O. Box 262
                                                                                        Social Security Number

      Shelbyville IN                      46176
                                                                                        Address

      317-398-0080
      Telephone Number                         Date


                  Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this               Names and Social Security numbers of all other individuals who
 petition is true and correct, and that I have been authorized to file this             prepared or assisted in preparing this document:
 petition on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11,
 United States Code, specified in this petition.
                                                                                        If more than one person prepared this document, attach additional
                                                                                        sheets conforming to the appropriate official form for each person.
  X
      Signature of Authorized Individual
                                                                                    X
                                                                                        Signature of Bankruptcy Petition Preparer
      Printed Name of Authorized Individual

                                                                                        Date
      Title of Authorized Individual
                                                                                   A bankruptcy petition preparer's failure to comply with the provisions
                                                                                   of title 11 and the Federal Rules of Bankruptcy Procedure may result
      Date
                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                               UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF INDIANA
                                                     INDIANAPOLIS DIVISION

In re Thomas Aldrich Weintraut                                                                                              Case No.
                                                                                                                            Chapter 7



                                                                                                                / Debtor

                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs.

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to any question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business.
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from the beginning
     of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A
     debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and
     ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
     state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE



2. Income other than from employment or operation of business.
     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date:11220.00                                        Penison and Social Security
   Last Year:34399.20                                        Pension and Social Security
Year before:32000.00                                         Pension and Social Security

3. Payments to creditors.
     a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within 90 days immediately
     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
     petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE


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    b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
    debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



4. Suits and administrative proceedings, executions, garnishments and attachments.
    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
    debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and a joint petition is not filed.)

    NONE



    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



5. Repossessions, foreclosures and returns.
    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
    year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
    both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



6. Assignments and receiverships.
    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing
    under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)

    NONE



    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



7. Gifts.
    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
    aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter
    12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
    not filed.)

    NONE



8. Losses.
    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
    (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
    and a joint petition is not filed.)

    NONE




                                                                                                                           Statement of Affairs - Page 2
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9. Payments related to debt counseling or bankruptcy.
    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief
    under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                           DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                  NAME OF PAYOR IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: J. D. Lux                                           Date of Payment:05/20/05                                       $300.00
Address:                                                   Payor: Martha Koors
101 S. Harrison Street, Suite
P.O. Box 262
Shelbyville, IN 46176

10. Other transfers.
    List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
    within one year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
    spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



11. Closed financial accounts.
    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
    immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and
    share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
    chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless
    spouses are separated and a joint petition is not filed.)

    NONE



12. Safe deposit boxes.
    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
    commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
    petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



13. Setoffs.
    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
    filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



14. Property held for another person.
    List all property owned by another person that the debtor holds or controls.

    NONE



15. Prior address of debtor.
    If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
    vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

    NONE




                                                                                                                          Statement of Affairs - Page 3
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16. Spouses and Former Spouses
    If the debtor resides or resided in a community property state, commonwealth or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
    Puerto Rico, Texas, W ashington, or W isconsin) within the six-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse
    and of any former spouse who resides or resided with the debtor in the community property state.

    NONE



17. Environmental Information
    For the purpose of this question, the following definitions apply:

    "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, release of hazardous or toxic substances, wastes or material
    into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
    or material.

      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
      including, but not limited to disposal sites.

      "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar term
      under and Environmental Law:

    a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or in
    violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

    NONE



    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental unit
    to which the notice was sent and the date of the notice.

    NONE



    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party. Indicate
    the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

    NONE



18. Nature, location and name of business
    a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning and ending dates of all businesses in
    which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the
    six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within the six years
    immediately preceding the commencement of this case

        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencment of this
    case.

        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately preceding the commencment of this
    case.


    NONE



    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


    NONE




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of Perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and
that they are true and correct to the best of my knowledge, information, and belief.


Date                                                    Signature /s/   Thomas Aldrich Weintraut
                                                                    Thomas Aldrich Weintraut

Date                                                    Signature


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both, 18 U.S.C. § 152 and § 3571.




                                                                                                                            Statement of Affairs - Page 5
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FORM B6 (6/90) W est Group, Rochester, NY




                                             UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA
                                                   INDIANAPOLIS DIVISION
   In re Thomas Aldrich Weintraut                                                                                    Case No.
                                                                                                                     Chapter 7


                                                                                                        / Debtor




                                                         SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages on each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from
Schedules D, E and F to determine the total amount of the debtor's liabilities.

                                                                                                    AMOUNTS SCHEDULED

                                            Attached        No. of
       NAME OF SCHEDULE                     (Yes/No)        Sheets             ASSETS                       LIABILITIES                 OTHER

 A-Real Property
                                             Yes              1          $                 0.00

 B-Personal Property
                                             Yes              3          $       32,105.00

 C-Property Claimed as
   Exempt
                                             Yes              1

 D-Creditors Holding Secured
   Claims
                                             Yes              1                                     $              35,724.57

 E-Creditors Holding
   Unsecured Priority Claims
                                             Yes              1                                     $                     0.00

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes              5                                     $              23,097.03

 G-Executory Contracts and
   Unexpired Leases
                                             Yes              1

 H-Codebtors
                                             Yes              1

 I-Current Income of Individual
   Debtor(s)
                                             Yes              1                                                                   $           2,244.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes              1                                                                   $           4,797.00


        Total Number of Sheets in All Schedules              16


                                                       Total Assets      $        32,105.00


                                                                                Total Liabilities   $              58,821.60
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In re Thomas Aldrich Weintraut                                                                           / Debtor        Case No.
                                                                                                                                                          (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES


                              DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR


     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         17   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:                                                 Signature   /s/ Thomas Aldrich Weintraut
                                                                       Thomas Aldrich Weintraut
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FORM B6A (6/90) West Group, Rochester, NY




In re Thomas Aldrich Weintraut                                                                       / Debtor         Case No.
                                                                                                                                                     (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W ," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.
If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                      Current Market
             Description and Location of Property                              Nature of Debtor's                                              Amount of
                                                                                                                          Value
                                                                              Interest in Property                   of Debtor's Interest,
                                                                                                                                             Secured Claim
                                                                                                       Husband--H    in Property Without
                                                                                                          Wife--W       Deducting any
                                                                                                          Joint--J    Secured Claim or
                                                                                                     Community--C         Exemption


None                                                                                                                                                      None




No continuation sheets attached                                                                TOTAL $                             0.00
                                                                        (Report also on Summary of Schedules.)
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FORM B6B (10/89) West Group, Rochester, NY
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In re Thomas Aldrich Weintraut                                                                                 / Debtor            Case No.
                                                                                                                                                                       (if known)

                                                     SCHEDULE B-PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                       Current Market
               Type of Property                 N                Description and Location of Property                                                      Value
                                                                                                                                                      of Debtor's Interest,
                                                o                                                                                 Husband--H          in Property Without
                                                                                                                                      Wife--W            Deducting any
                                                n                                                                                                      Secured Claim or
                                                                                                                                     Joint--J
                                                e                                                                               Community--C               Exemption


1. Cash on hand.                                X

2. Checking, savings or other financial             Checking Account - Centra Credit Union                                                                            $ 5.00
   accounts, certificates of deposit, or
   shares                                           Location: In debtor's possession
   in banks, savings and loan, thrift,
   building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,     X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,                 Household good & furniture                                                                                  $ 500.00
   including audio, video, and computer
   equipment.                                       Location: In debtor's possession


5. Books, pictures and other art objects,       X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                 Everyday Clothing                                                                                           $ 100.00
                                                    Location: In debtor's possession


7. Furs and jewelry.                            X

8. Firearms and sports, photographic, and       X
   other hobby equipment.

9. Interests in insurance policies. Name        X
   insurance company of each policy and
   itemize surrender or refund value of
   each.

10. Annuities. Itemize and name each issuer.    X

11. Interests in IRA, ERISA, Keogh, or other    X
    pension or profit sharing plans. Itemize.

12. Stock and interests in incorporated and     X
    unincorporated businesses. Itemize.

13. Interests in partnerships or joint          X
    ventures.
    Itemize.

14. Government and corporate bonds and          X
    other negotiable and non-negotiable
    instruments.



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                      Case 05-10112-JKC-7
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In re Thomas Aldrich Weintraut                                                                          / Debtor     Case No.
                                                                                                                                                    (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY

                                                                          (Continuation Sheet)

                                                                                                                                    Current Market
               Type of Property                    N             Description and Location of Property                                   Value
                                                                                                                                   of Debtor's Interest,
                                                   o                                                                 Husband--H    in Property Without
                                                                                                                         Wife--W      Deducting any
                                                   n                                                                                Secured Claim or
                                                                                                                        Joint--J
                                                   e                                                               Community--C         Exemption

15. Accounts Receivable.                           X

16. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

17. Other liquidated debts owing debtor            X
    including tax refunds. Give particulars.

18. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

19. Contingent and non-contingent                  X
    interests
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

20. Other contingent and unliquidated              X
    claims
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights
    to
    setoff claims. Give estimated value of
    each.

21. Patents, copyrights, and other intellectual    X
    property. Give particulars.

22. Licenses, franchises, and other general        X
    intangibles. Give particulars.

23. Automobiles, trucks, trailers and other            1982 Mobile Home                                                                  $ 3,000.00
    vehicles.
                                                       Location: In debtor's possession
                                                       Joint Ownership with Martha Jane Koors

                                                       1997 Chrysler LXT                                                                 $ 3,500.00
                                                       Location: In debtor's possession


                                                       2005 Dodge Gr Caravan                                                           $ 25,000.00
                                                       Location: In debtor's possession


24. Boats, motors, and accessories.                X

25. Aircraft and accessories.                      X

26. Office equipment, furnishings, and             X
    supplies.

27. Machinery, fixtures, equipment and             X
    supplies used in business.

28. Inventory.                                     X



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                      Case 05-10112-JKC-7
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In re Thomas Aldrich Weintraut                                                                  / Debtor          Case No.
                                                                                                                                                    (if known)

                                                  SCHEDULE B-PERSONAL PROPERTY

                                                                  (Continuation Sheet)

                                                                                                                                    Current Market
               Type of Property               N          Description and Location of Property                                           Value
                                                                                                                                   of Debtor's Interest,
                                              o                                                                  Husband--H        in Property Without
                                                                                                                     Wife--W          Deducting any
                                              n                                                                                     Secured Claim or
                                                                                                                    Joint--J
                                              e                                                                Community--C             Exemption

29. Animals.                                  X

30. Crops - growing or harvested.             X
    Give particulars.

31. Farming equipment and implements.         X

32. Farm supplies, chemicals, and feed.       X

33. Other personal property of any kind not   X
    already listed. Itemize.




Page      3      of     3                                                                                   Total                        $ 32,105.00
                                                                                                                (Report total also on Summary of Schedules.)
                                                                                                      Include amounts from any continuation sheets attached.
               Case 05-10112-JKC-7
FORM B6C (6/90) W est Group, Rochester, NY
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In re
        Thomas Aldrich Weintraut                                                                       / Debtor           Case No.
                                                                                                                                                      (if known)

                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:
(Check one box)
   11 U.S.C. § 522(b) (1): Exemptions provided in 11 U.S.C. § 522(d). Note: These exemptions are available only in certain states.
   11 U.S.C. § 522(b) (2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
                           located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any
                           other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process
                           under applicable nonbankruptcy law.


                                                                          Specify Law                                   Value of           Current Market
             Description of Property                                     Providing each                                 Claimed           Value of Property
                                                                           Exemption                                   Exemption          Without Deducting
                                                                                                                                             Exemptions

Checking Account                                     I.C.A. §34-55-10-2(b)(2)                                                  $ 5.00                $ 5.00

Household good & furniture                           I.C.A. §34-55-10-2(b)(2)                                               $ 500.00               $ 500.00

Clothing                                             I.C.A. §34-55-10-2(b)(2)                                               $ 100.00               $ 100.00

1982 Mobile Home                                     I.C.A. §34-55-10-2(b)(1)                                            $ 3,000.00            $ 3,000.00

1997 Chrysler LXT                                    I.C.A. §34-55-10-2(b)(2)                                               $ 500.00           $ 3,500.00




                                                                                                                                        Page No.   1 of       1
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In re Thomas Aldrich Weintraut                                                                         / Debtor                        Case No.
                                                                                                                                                                  (if known)

                            SCHEDULE D-CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens,
mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on
this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column marked "Codebtor," include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.

   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                       C U     D
      Creditor's Name and Mailing Address          C   Date Claim was Incurred,                                        o n     i     Amount of Claim       Unsecured
                                                   o                                                                   n l     s
                                                       Nature of Lien, and Description and                                               Without          Portion, if any
                 Including Zip Code                d                                                                   t i     p
                                                       Market Value of Property Subject to Lien                        i q     u     Deducting Value
                                                   e
                                                                                                                       n u     t
                                                   b                                                                   g i     e       of Collateral
                                                     H--Husband                                                          d
                                                   t                                                                   e a     d
                                                     W--Wife
                                                   o                                                                   n t
                                                     J--Joint
                                                   r C--Community                                                      t e
                                                                                                                         d
Account No: 6905                                         6/2004                                                            X           $ 32,724.57           $ 7,724.57
Creditor # : 1
Chrysler Financial                                      2005 Dodge Gr Caravan
P.O. Box 9223
Farmington Hills MI 48333

                                                         Value:   $ 25,000.00
Account No: 8965                                   X     2/2002                                                            X             $ 3,000.00                $ 0.00
Creditor # : 2
Key Bank                                                1997 Chrysler LXT
P.O. Box 94620
Cleveland OH 44101-4620

                                                         Value:   $ 3,500.00
Account No:




                                                         Value:

Account No:




                                                         Value:

No continuation sheets attached                                                                                  Subtotal $                35,724.57
                                                                                                              (Total of this page)
                                                                                                                       Total $             35,724.57
                                                              (Use only on last page. Report total also on Summary of Schedules)
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In re Thomas Aldrich Weintraut                                                                                      / Debtor                          Case No.
                                                                                                                                                                                 (if known)

               SCHEDULE E-CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name and mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as
of the date of the filing of the petition.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

           Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in
the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                 (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).


     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).


     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
     of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).


     Deposits by individuals

     Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(6).


     Alimony, Maintenance or Support
     Claims of a spouse, former spouse, or child of the debtor, for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).


     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, custom duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
     Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
               *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                           No continuation sheets attached
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In re Thomas Aldrich Weintraut                                                                   / Debtor                        Case No.
                                                                                                                                                                (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


State the name, mailing address, including zip code, and last four digits of any account number, if any, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.


   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                                   C     U   D
      Creditor's Name and Mailing Address               C          Date Claim was Incurred,                                        o     n
                                                                                                                                                     Amount of Claim
                                                                                                                                             i
                                                        o                                                                          n     l   s
                                                        d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                                t
                                                                                                                                         q
                                                                                                                                             p
                                                        e          If Claim is Subject to Setoff, so State.                        i         u
                                                                                                                                         u
                                                                                                                                   n         t
                                                        b                                                                          g
                                                                                                                                         i
                                                                                                                                         d   e
                                                        t H--Husband                                                               e     a   d
                                                        o W--Wife                                                                  n     t
                                                        r J--Joint                                                                 t
                                                                                                                                         e
                                                                                                                                         d
                                                           C--Community
          0002
Account No:                                                     01/27/05                                                                 X                      $ 16.09
Creditor # : 1                                                  Medical Bills
Associayes IN Anesthesiology
9899 East 126th
Fishers IN 46038


          2125
Account No:                                                     1/20/05                                                                  X                      $ 52.42
Creditor # : 2                                                  Medical Bills
Beech Grove Internal Medicine
P.O. Box 664045
Indianapolis IN 46266


          4786
Account No:                                                     6/2004                                                                   X                     $ 940.88
Creditor # : 3                                                  Credit Card Purchases
Capitol One Bank
P.O. Box 85147
Richmond VA 23276


          5258
Account No:                                                     6/2004                                                                   X                     $ 749.44
Creditor # : 4                                                  Credit Card Purchases
Capitol One Bank
P.O. Box 85015
Richmond VA 23276


    4 continuation sheets attached                                                                                             Subtotal $                      1,758.83
                                                                                                                            (Total of this page)
                                                                                                                                       Total $
                                                                                                   (Report total also on Summary of Schedules)
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In re Thomas Aldrich Weintraut                                                                  / Debtor                       Case No.
                                                                                                                                                             (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                          C--Community
          2125
Account No:                                                   12/22/04                                                                 X                     $ 10.43
Creditor # : 5                                                Medical Bills
Center For Respiratory Medicin
P.O. Box 664052
Indianapolis IN 46266-4052


          3803
Account No:                                                   2002                                                                     X                 $ 2,580.77
Creditor # : 6                                                Credit Card Purchases
Chase Bank One
P.O. Box 94014
Palatine IL 60094-4014


          4112
Account No:                                           X       5/2003                                                                   X                 $ 1,653.66
Creditor # : 7                                                Credit Card Purchases
Citi Card
P. O. Box 688916
Des Moines IA 50368


          7158
Account No:                                           X       8/2003                                                                   X                 $ 5,967.91
Creditor # : 8                                                Credit Card Purchases
Citi Cards
P.O. Box 688915
Des Moines IA 50368-8918


          1273
Account No:                                                   2001                                                                     X                 $ 5,847.42
Creditor # : 9                                                Credit Card Purchases
Citi Cards
P.O. Box 688913
Des Moines IA 50368


          0840
Account No:                                                   2/03/05                                                                  X                       $ 5.58
Creditor # : 10                                               Medical Bills
Community Hospital of Indiana
P.O. Box 19751
Indianapolis IN 46219


Sheet No.      1 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                   16,065.77
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Thomas Aldrich Weintraut                                                                  / Debtor                       Case No.
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
          0398
Account No:                                                   12/2004                                                                  X                     $ 456.00
Creditor # : 11                                               Medical Bills
Community Hospital of Indiana
9500 Reliable Parkway
Chicago IL 60686-0095


          0840
Account No:                                                   02/03/05                                                                 X                       $ 5.58
Creditor # : 12                                               Medical Bills
Community Hospital of Indiana
P.O. Box 19751
Indianapolis IN 46219-0751


          0671
Account No:                                                   4/2004                                                                   X                     $ 522.45
Creditor # : 13                                               Credit Card Purchases
Household Credit Services
P.O. Box 5222
Carol Stream IL 60197-5222


          4078
Account No:                                                   12/2004                                                                  X                     $ 247.19
Creditor # : 14                                               Medical Bills
Indiana Heart Associates
P.O. Box 633711
Cincinnati OH 45263-3711


          4078
Account No:                                                   3/2005                                                                   X                      $ 35.48
Creditor # : 15                                               Medical Bills
Indiana Heart Associates
P.O. Box 633711
Cincinnati OH 45263-3711


          6650
Account No:                                                   2/2005                                                                                          $ 15.05
Creditor # : 16                                               Medical Bills
Infectious Disease of IN
12302 Hancock Street
Carmel IN 46032


Sheet No.      2 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      1,281.75
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Thomas Aldrich Weintraut                                                                  / Debtor                       Case No.
                                                                                                                                                              (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
          1740
Account No:                                                   11/2004                                                                  X                       $ 3.12
Creditor # : 17                                               Medical Bills
Irvington Ragiologists
7205 Shadeland Station
Ste 150
Indianapolis IN 46206

          5307
Account No:                                                   9/2001                                                                   X                     $ 939.69
Creditor # : 18                                               Credit Card Purchases
KeyBank
P.O. Box 688903
Des Moines IA 50368


          9057
Account No:                                                   2/22/05                                                                  X                      $ 39.49
Creditor # : 19                                               Medical Bills
Nationwide Mobile Imaging
1031 Mt. Auburn Road
Evansivlle IN 47720


          8845
Account No:                                                   2004                                                                     X                     $ 134.00
Creditor # : 20                                               Clothes
North American Hunting Clubs
12301 Whitewater Drive
P.O. Box 3407
Minnetonka MN 55343

          0680
Account No:                                                   1/2004                                                                   X                 $ 2,801.89
Creditor # : 21                                               Credit Card Purchases
Providian Processing SVCS
P.O. Box 660548
Dallas TX 72566-0548


          9112
Account No:                                                   12/31/04                                                                 X                      $ 30.38
Creditor # : 22                                               Medical Bills
Pulmonary Medical Assooc
1400 North Ritter Ave.
Suite 375
Indianapolis IN 46219

Sheet No.      3 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                      3,948.57
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                 (Report total also on Summary of Schedules)
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In re Thomas Aldrich Weintraut                                                                  / Debtor                       Case No.
                                                                                                                                                             (if known)
              SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                         (Continuation Sheet)

                                                                                                                                 C     U   D
      Creditor's Name and Mailing Address             C          Date Claim was Incurred,                                        o     n
                                                                                                                                                   Amount of Claim
                                                                                                                                           i
                                                      o                                                                          n     l   s
                                                      d          and Consideration for Claim.                                          i
                 including Zip Code                                                                                              t     q   p
                                                      e          If Claim is Subject to Setoff, so State.                        i     u   u
                                                                                                                                 n         t
                                                      b                                                                          g
                                                                                                                                       i
                                                                                                                                       d   e
                                                      t H--Husband                                                               e     a   d
                                                      o W--Wife                                                                  n     t
                                                      r J--Joint                                                                 t     e
                                                                                                                                       d
                                                         C--Community
          2150
Account No:                                                   02/11/2005                                                               X                     $ 10.13
Creditor # : 23                                               Medical Bills
Rehabiltation Associates of IN
7950 N. Shadeland Ave., #100
Indianapolis IN 46250


          9886
Account No:                                                   12/2204                                                                  X                     $ 12.11
Creditor # : 24                                               Medical Bills
Rural Metro of Indiana
3450 Developers Road
Indianapolis IN 46227


Account No:     9886
Representing:                                                 Rural Metro of In
                                                              Department 8157
Rural Metro of Indiana
                                                              Carol Stream IL 60122



          5527
Account No:                                                   5/04/05                                                                  X                       $ 6.10
Creditor # : 25                                               Medical Bills
South Side Pulmunary
8051 S. Emerson Ste 490
Indianapolis IN 46237


          XR01
Account No:                                                   03/05                                                                    X                     $ 13.77
Creditor # : 26                                               Medical Bills
Xray Physicians of Shelbyville
P.O. Box 6225
Indianapolis IN 46250


Account No:




Sheet No.      4 of      4 continuation sheets attached to Schedule of                                                       Subtotal $                         42.11
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)
                                                                                                                                     Total $              23,097.03
                                                                                                 (Report total also on Summary of Schedules)
                Case 05-10112-JKC-7
FORM B6G (10/89) W est Group, Rochester, NY
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In re Thomas Aldrich Weintraut                                                                                / Debtor            Case No.
                                                                                                                                                              (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of
     creditors.

   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                         Description of Contract or Lease and
                including Zip Code, of                                                               Nature of Debtor's Interest.
                other Parties to Lease                                                   State whether Lease is for Nonresidential Real Property.
                     or Contract                                                          State Contract Number of any Government Contract.




                                                                                                                                                      Page   1 of      1
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In re Thomas Aldrich Weintraut                                                                    / Debtor          Case No.
                                                                                                                                                 (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the
name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding
the commencement of this case.
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                  Name and Address of Creditor

Martha Koors                                                                 Citi Card
596 Chestnut, Trailer #30                                                    P. O. Box 688916
Shelbyville IN 46176                                                         Des Moines IA 50368

                                                                             Citi Cards
                                                                             P.O. Box 688915
                                                                             Des Moines IA 50368-8918

                                                                             Key Bank
                                                                             P.O. Box 94620
                                                                             Cleveland OH   44101-4620




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In re Thomas Aldrich Weintraut                                                                            / Debtor        Case No.
                                                                                                                                                                (if known)


                         SCHEDULE I-CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.
   Debtor's Marital                                                               DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                      RELATIONSHIP                                                                              AGE
      Single



 EMPLOYMENT:                                               DEBTOR                                                                   SPOUSE

 Occupation
 Name of Employer
 How Long Employed
 Address of Employer
 Income: (Estimate of average monthly income)                                                                        DEBTOR                            SPOUSE
 Current Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                       $                      0.00 $                          0.00
 Estimated Monthly Overtime                                                                                $                      0.00 $                          0.00
 SUBTOTAL                                                                                                  $                      0.00 $                          0.00
     LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                                 $                      0.00     $                      0.00
      b. Insurance                                                                                         $                      0.00     $                      0.00
      c. Union Dues                                                                                        $                      0.00     $                      0.00
      d. Other (Specify):                                                                                  $                      0.00     $                      0.00
 SUBTOTAL OF PAYROLL DEDUCTIONS                                                                            $                      0.00     $                      0.00
 TOTAL NET MONTHLY TAKE HOME PAY                                                                           $                      0.00 $                          0.00
 Regular income from operation of business or profession or farm (attach detailed statement)               $                      0.00     $                      0.00
 Income from Real Property                                                                                 $                      0.00     $                      0.00
 Interest and dividends                                                                                    $                      0.00     $                      0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that               $                      0.00     $                      0.00
 of dependents listed above.
 Social Security or other government assistance
 Specify: Social Secuity                                                                                   $                 830.00 $                             0.00
 Pension or retirement income                                                                              $               1,414.00 $                             0.00
 Other monthly income
 Specify:                                                                                                  $                   0.00 $                             0.00
    TOTAL MONTHLY INCOME                                                                                   $               2,244.00 $                             0.00
                        TOTAL COMBINED MONTHLY INCOME                         $                2,244.00
                        (Report also on Summary of Schedules)

 Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this
 document:




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FORM B6J (6/90) West Group, Rochester, NY




In re Thomas Aldrich Weintraut                                                                           / Debtor                 Case No.
                                                                                                                                                            (if known)


                      SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

Complete this schedule by estimating the average expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly, quarterly,
semi-annually, or annually to show monthly rate.

   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."

 Rent or home mortgage payment (include lot rented for mobile home)                                                                             $                0.00
 Are real estate taxes included?           Yes       No
 Is property insurance included?           Yes       No
 Utilities: Electricity and heating fuel                                                                                                        $                0.00
             Water and sewer                                                                                                                    $                0.00
             Telephone                                                                                                                          $                0.00
             Other                                                                                                                              $                0.00
             Other                                                                                                                              $                0.00
             Other                                                                                                                              $                0.00
  Home maintenance (Repairs and upkeep)                                                                                                         $               0.00
  Food                                                                                                                                          $               0.00
  Clothing                                                                                                                                      $               0.00
  Laundry and dry cleaning                                                                                                                      $               0.00
  Medical and dental expenses                                                                                                                   $           1,000.00
  Transportation (not including car payments)                                                                                                   $               0.00
  Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                              $               0.00
  Charitable contributions                                                                                                                      $               0.00
  Insurance (not deducted from wages or included in home mortgage payments)
             Homeowner's or renter's                                                                                                            $                 0.00
             Life                                                                                                                               $                 0.00
             Health                                                                                                                             $                 0.00
             Auto                                                                                                                               $                 0.00
             Other                                                                                                                              $                 0.00
             Other                                                                                                                              $                 0.00
             Other                                                                                                                              $                 0.00
  Taxes (not deducted from wages or included in home mortgage)
  Specify:                                                                                                                                      $                0.00
  Installment payments: (in chapter 12 and 13 cases, do not list payments to be included in the plan)
             Auto                                                                                                                               $               0.00
             Other:                                                                                                                             $               0.00
             Other:                                                                                                                             $               0.00
             Other:                                                                                                                             $               0.00
 Alimony, maintenance, and support paid to others                                                                                               $               0.00
 Payments for support of additional dependents not living at your home                                                                          $               0.00
 Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $               0.00
 Other:      Assistant Living 128.00 per da                                                                                                     $           3,797.00
 Other:                                                                                                                                         $               0.00
 Other:                                                                                                                                         $               0.00

                                                                   TOTAL MONTHLY EXPENSES                  (Report also on Summary of Schedules) $          4,797.00
               Case 05-10112-JKC-7
FORM B8 (12/03) West Group, Rochester, NY
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                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF INDIANA
                                                  INDIANAPOLIS DIVISION

In re Thomas Aldrich Weintraut                                                                              Case No.
                                                                                                            Chapter 7



                                                                                                 / Debtor




                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.



2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

Description of Property                               Creditor's Name
2005 Dodge Gr Caravan                                 Chrysler Financial

b. Property to Be Retained.                                                                                      [Check any applicable statement.]

                                                                                                                 Property is    Property will be   Debt will be
                                                                                                                 claimed as     redeemed           reaffirmed
Description of Property                               Creditor's Name                                            exempt         pursuant to        pursuant to
                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)

1997 Chrysler LXT                                     Key Bank                                                          X

                                                              Signature of Debtor(s)



Date:                                                 Debtor: /s/     Thomas Aldrich Weintraut


Date:                                                 Joint Debtor:




                                                                                                                                          Page       1 of         1
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Form B 201 (11/03) West Group, Rochester, NY



                              UNITED STATES BANKRUPTCY COURT
                            NOTICE TO INDIVIDUAL CONSUMER DEBTOR
   The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file
   a bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of
   an attorney to learn of your rights and responsibilities under the law should you decide to file a petition with the court. Court
   employees are prohibited from giving you legal advice.



Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)
           1.    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

          2. Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt
under governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities
of the Bankruptcy Code.

          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court,
and the purpose for which you filed the bankuptcy petition will be defeated.

           4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may
still be responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts
for death or personal injury caused by driving while intoxicated from alcohol or drugs.

           5. Under certain circumstances you may keep property that you have purchased subject to valid security interest.
Your attorney can expain the options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing
fee plus $39 administrative fee)

           1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would
like to pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankuptcy Code.

          2. Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe
them, using your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five
years. Your plan must be approved by the court before it can take effect.

           3. Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you
continue to make payments under the plan.

           4. After completion of payments under the plan, your debts are discharged except alimony and support payments,
student loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while
intoxicated from alcohol or drugs, and long term secured obligations.

Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
          Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an
attorney.
Chapter 12: Family farmer ($200 filing fee plus $39 administrative fee)
          Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in
many ways similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm.


I, the debtor, affirm that I have read this notice.

                                              /s/Thomas Aldrich Weintraut
                Date                                         Signature of Debtor                                     Case Number




                                                      DEBTOR COPY                  COURT COPY
                                                                    (circle one)
           Case 05-10112-JKC-7
Rule 2016(b) (8/91) West Group, Rochester, NY
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                                        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF INDIANA
                                              INDIANAPOLIS DIVISION
        Thomas Aldrich Weintraut                                                                    Case No.
In re
                                                                                                    Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   J. D. Lux

                                      STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                 300.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                        300.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                       0.00

3. $             209.00             of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     Martha Koors

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated:                                            Respectfully submitted,


                                              X /s/ J. D. Lux
                        Attorney for Petitioner: J. D. Lux
                                                 Lux & Lux, P.A.
                                                 101 S. Harrison Street, Suite
                                                 P.O. Box 262
                                                 Shelbyville IN 46176
